Case 2:16-bk-52822                Doc 39         Filed 12/13/17 Entered 12/13/17 14:39:15                                   Desc Main
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   B2100A (Form 2100A) (12/15)


                              United States Bankruptcy Court
                              _______________
                              Southern        District Of _______________
                                                          Ohio (Columbus)

         Craig Anthony Bernardo and Kimberly Anna Bernardo
   In re ______________________________,                                     16-52822
                                                                    Case No. ________________



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.

   U.S. Bank Trust National Association, as                                     Wells Fargo Bank, N.A.
   Trustee of the Igloo Series III Trust
   ______________________________________                                      ____________________________________
              Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                 Court Claim # (if known): 4
   should be sent:                                                              Amount of Claim: $257992.76
   c/o BSI Financial Services                                                   Date Claim Filed: 06/23/2016
   1425 Greenway Drive, Ste 400
   Irving, TX 75038
          972-347-4350
   Phone: ______________________________                                               866-234-8271
                                                                               Phone: __________________________
                               4327
   Last Four Digits of Acct #: ______________                                                               4327
                                                                               Last Four Digits of Acct. #: __________

   Name and Address where transferee payments
   should be sent (if different from above):
   c/o BSI Financial Services
   PO Box 679002
   Dallas, TX 75267-9002
            888-738-5873
   Phone: _______________________________
                               4327
   Last Four Digits of Acct #: _______________



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

      /s/ Michelle R. Ghidotti-Gonsalves
   By:__________________________________                                             12/13/2017
                                                                                Date:____________________________
           Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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   B2100B (Form 2100B) (12/15)

                              United States Bankruptcy Court
                              _______________
                              Southern        District Of _______________
                                                          Ohio (Columbus)


         Craig Anthony Bernardo and Kimberly Anna Bernardo
   In re ______________________________,                              16-52822
                                                             Case No. ________________




         NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
               4
   Claim No. _____    (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
   alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
   Other than for Security in the clerk’s office of this court on ______
                                                                  12/13/2017
                                                                             (date).



   Name of Alleged Transferor                                                 Name of Transferee
   Wells Fargo Bank, N.A.                                                     U.S. Bank Trust National Association, as
                                                                              Trustee of the Igloo Series III Trust

   Address of Alleged Transferor:                                             Address of Transferee:
   P.O. Box 10335                                                              c/o BSI Financial Services
   Des Moines, IA 50306                                                        1425 Greenway Drive, Ste 400
                                                                               Irving, TX 75038

                                 ~~DEADLINE TO OBJECT TO TRANSFER~~
   The alleged transferor of the claim is hereby notified that objections must be filed with the court
   within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
   court, the transferee will be substituted as the original claimant without further order of the court.




   Date:_________                                                        ______________________________
                                                                           CLERK OF THE COURT
